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                                             #:168708



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                   8                           UNITED STATES DISTRICT COURT
                   9                      CENTRAL DISTRICT OF CALIFORNIA
                  10                                EASTERN DIVISION
                  11 CARTER BRYANT, an individual,              CASE NO. CV 04-9049 SGL (RNBx)
                                                                Consolidated with
                  12              Plaintiff,                    Case No. CV 04-09059
                                                                Case No. CV 05-02727
                  13        vs.
                                                                Hon. Stephen G. Larson
                  14 MATTEL, INC., a Delaware
                     corporation,                               [PROPOSED] ORDER RE MATTEL,
                  15                                            INC.'S EX PARTE APPLICATION
                                  Defendant.                    TO SET EARLIER HEARING DATE
                  16
                                                                Hearing Date: TBD
                  17 AND CONSOLIDATED ACTIONS                   Time:         TBD
                                                                Place:        TBD
                  18
                                                                Phase 2
                  19                                            Discovery Cut-Off: December 11, 2009
                                                                Pre-Trial Conference: March 1, 2010
                  20                                            Trial Date:           March 23, 2010
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07209/2858420.1
                              [PROPOSED] ORDER RE MATTEL'S EX PARTE APPLICATION TO SET EARLIER HEARING DATE
             Case 2:04-cv-09049-DOC-RNB Document 5146-2 Filed 04/08/09 Page 2 of 2 Page ID
                                             #:168709



                   1                                 [Proposed] Order
                   2             Having considered Mattel's concurrently filed ex parte application to
                   3 set an earlier hearing date, and good cause having been shown, IT IS HEREBY
                   4 ORDERED that:
                   5             The hearing on the Motion is set for               , 2009 at
                   6         _.m. in Courtroom 1.
                   7
                   8 DATED:                         , 2009
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                  10                                         ___________________________________
                                                             Hon. Stephen G. Larson
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                             [PROPOSED] ORDER RE MATTEL'S EX PARTE APPLICATION TO SET EARLIER HEARING DATE
